               Case 4:04-cr-40015-JPG                      Document 341 Filed 05/03/05                     Page 1 of 6     Page ID
                                                                     #633
%A0 2458        (Rev. 12/03) Judgment in a Criminal Case
                Sheet 1




                                                 SOUTHERN          District of      ILLINOIS
UNITED STATES OF AMERICA                                                  JUDGMENT IN A CRIMINAL CASE
v.
MICHAEL R. CRANE
                                                                          Case Number:                       4:04CR40015-005-JPG
                                                                          USM Number:                         06283-025
                                                                          Gordon E. Freese
                                                                          Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)
-                                      1 of the Fifth Superseding Indictment.
- pleaded nolo contendere to count(s)
     which was accepted by the court.
- was found guilty on count(s)
     after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                     Nature of Offense                                                         Offense Ended               Count
21 U.S.C. 846                       Conspiracy to Manufacture 50 Grams or More of a Mixture and               09/25/2005         1sssss
                                    Substance Containing Methamphetamine
                                                                                                                     LED


       The defendant is sentenced as provided in pages 2 through
the Sentencing Reform Act of 1984.
                                                                            (/           of this judgment. The sentence is imposed pursuant to


- The defendant has been found not guilty on count(s)
0 Count(s)
-                                                           -
                                                            0 is      are dismissed on the motion of the United States.

         It is ordered that the defendant .must notify the Ur$ed States a t t o ~ e for
                                                                                    y this distr?ctwithin 30 da s of any change of name, reside?
                                                                                                                 Y
or mailing address until, all fines, restitution, costs, and specla1assessments unposed by thls judgment are fk ly paid. If ordered to pay restitutio
the defendant must notify the court and United States attorney of material changes in economc circumstances.

                                                                          April 29,2005
                                                                          Date of Imposition of Judgment




                                                                          J. Phil Gilbert, District Judge
                                                                          Name and Title of Judge
                 Case 4:04-cr-40015-JPG                   Document 341 Filed 05/03/05                      Page 2 of 6        Page ID
                                                                    #634
A 0 245B       (Rev. 12/03) Judgment in Criminal Case
               Sheet 2 - Imprisonment

                                                                                                            Judgment - Page    2
 DEFENDANT:                       MICHAEL R. CRANE
 CASE NUMBER:                     4:04CR400 15-005-JPG

                                                                 IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:     60 months on Count lsssss.




     X The court makes the following recommendations to the Bureau of Prisons:
           That the defendant be placed on the Intensive Drug Treatment Program.




     X
     - The defendant is remanded to the custody of the United States Marshal.

     - The defendant shall surrender to the United States Marshal for this district:
           -     at                                     0 a.m.
                                                        -               p.m.         on
           0
           -     as notified by the United States Marshal.

     - The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       - before 2 p.m. on
           -     as notified by the United States Marshal.

           -     as notified by the Probation or Pretrial Services Office.


                                                                       RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                                to

 a                                                        , with a certified copy of this judgment.



                                                                                                          UNITED STATES MARSHAL


                                                                               - J
                                                                                          DEPUTY UNITED STATES MARSHAL
                 Case 4:04-cr-40015-JPG                   Document 341 Filed 05/03/05                   Page 3 of 6         Page ID
                                                                    #635
A 0 245B       (Rev. 12/03) Judgment in a Criminal Case
               Sheet 3 - Supervised Release
                                                                                                           Judgment-Page      3
 DEFENDANT:                     MICHAEL R. CRANE
 CASE NUMBER:                   4:04CR40015-005-JPG
                                                          SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of :           5 years on Count lsssss




      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from th
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as detemned by the court.

 -
 IJ       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)

 -
 IXI      The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)
 X        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
 0 The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
 -
          student, as directed by the probation officer. (Check, if applicable.)

 -        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If ths 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of$ayments sheet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional condition
 on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
     1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
           each month;
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
     5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or 0th
           acceptable reasons;
     6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or adrmnistered;
     9)    the defendant shall not associate with any ersons en aged in criminal activity and shall not associate with any person convicted of
           felony, unless granted permission to do s o i y the pro%ationofficer;
  10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of an
            contraband observed in plain view of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement office
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without th
           permission of the court; and
  13)      as directed by the robation officer, the defendant shall notify thud parties of risks that may be occasioned by the defendant's crimin
           record or ,personay history or characteristics and shall permit the probation officer to make such notifications and to confirm th
           defendant s compliance with such notification requirement.
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                                                                #636
A 0 245B   (Rev. 12/03) Judgment in a Criminal Case
           Sheet 3C - Supervised Release
                                                                                              Judgment-Page   4
DEFENDANT:                MICHAEL R. CRANE
CASE NUMBER:              4:04CR4OO 15-005-JPG

                                         SPECIAL CONDITIONS OF SUPERVISION
                                                                                C
          The defendant shall pay any financial penalty that is imposed by this udgment and that remains unpaid at the
commencement of the term of supervised release. The defendant shall paythe me in installments of $25.00 per month or ten
percent of his net monthly income, whichever is greater.
  The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
with access to any requested financial information. The defendant is advised that the probation office may share financial
information with the Financial Litigation Unit.
  The defendant shall not incur new credit charges or open additional lines of credit without the approval of the probation
officer.
  The defendant shall participate in credit counseling as directed by the probation officer
  The defendant shall articipate as directed and approved by the probation officer in treatment for narcotic addiction, drug
                         7
dependence, or alcoho dependence, which includes urinalysis or other drug detection measures and which may require
residence and/or partici ation in a residential treatment facility. Any participation will require complete abstinence from all
alcoholic beverages. Tl! e defendant shall pay for the costs associated with substance abuse counseling andlor testing based
on a co-pay sliding fee scale approved by the United States Probation Office. Co pay shall never exceed the total costs of
counseling.
              Case 4:04-cr-40015-JPG                      Document 341 Filed 05/03/05                       Page 5 of 6          Page ID
                                                                    #637
A 0 245B   (Rev. 12/03). Judgment
                            -     in a Criminal Case
           Sheet 5 - Criminal Monetary Penalties
                                                                                                        Judgment - Page      5
 DEFENDANT:                         MICHAEL R. CRANE
 CASE NUMBER:                       4:04CR40015-005-JPG
                                                CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                                           -
                                                                            Fine                               Restitution
 TOTALS            $ 100.00                                             $ 500.00                             $ -0-



 - The determination of restitution is deferred until                  . An Amended Judgment in a Criminal Case ( A 0 245C) will be enter
      after such determination.

 -
 0 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayrnent, unless specified otherwise
      the priority order or percentage payment column %elow. However, pursuant to 18 $s.& 9 36640, all nonfederal victims must be p
      before the United States is paid.

 Name of Pavee                                Total Loss*                        Restitution Ordered                  Prioritv or Percentape




 TOTALS                              $                                         $

 0
 -     Restitution amount ordered pursuant to plea agreement $

 -    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. 5 36 12(g).

 E3
 -     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       x   the interest requirement is waived for the           x    fine    Q restitution.

      - the interest requirement for the               0 fine
                                                       -            0 restitution is modified as follows:
                                                                    -

 * Findings for the total amount of losses are required under Chapters 109A, 110, 11OA, and 113A of Title 18 for offenses committed on or aft
 September 13, 1994, but before April 23, 1996.
               Case 4:04-cr-40015-JPG                   Document 341 Filed 05/03/05                     Page 6 of 6          Page ID
A 0 245B   (Rev. 12/03) Judgment in a Criminal Case
                                                                  #638
           Sheet 6 - Schedule of Payments
                                                                                                         Judgment -Page       6
 DEFENDANT:                 MICHAEL R. CRANE
 CASE NUMBER:               4:04CR4OO 15-005-JPG

                                                       SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A    x g Lump sum payment of $                              due immediately, balance due

           -     not later than                                   , or
           -     in accordance           - C,         o D,         E, or    1 F below; or
 B    o Payment to begin immediately (may be combined with                  C,       -
                                                                                     0 D, or         F below); or

 C    g Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                           (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 D    g    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E         Payments are due immediately, through the Clerk of the Court, but may be paid from prison earnings in compliance with the
           Inmate Financial Responsibility Program. Any Financial penalties that remain unpaid at the commencement of the term of
           supervised release shall be paid at the rate of $             per month,       % of defendants monthly gross earnings,
           whichever is greater.

 F    x o Special instructions regarding the payment of criminal monetary penalties:
           While on supervised release the defendant shall make monthly payments in the amount of $25.00 or ten percent of his net month
           income, whichever is greater.




 Unless the court has express1 ordered otherwise, if this jud ment imposes imprisonment,pa ent of criminal monetary penalties is due durin
                               1
 imprisonment. All cnmina moneta penalt~es,except Lose payments made through g ~ e d e r a Bureau
 Responsibility Program, are made t o x e clerk of the court.
                                                                                                     l      of Prisons' Inmate Financi


 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 -    Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 -     The defendant shall pay the cost of prosecution.
 -    The defendant shall pay the following court cost(s):
 -
 0    The defendant shall forfeit the defendant's interest in the following property to the United States:




                                                         1
 Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) pena ties, and (8) costs, including cost of prosecution and court costs.
